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TAB 6
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Condensed Transcript

Deposition of
BIPI - Joseph DeCapua

taken on
5/30/2007

State of Alabama
Vv.
Abbott Laboratories, Inc., et al.

Case No. 2005-219

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May 30, 2007
Page 14 Page 16},
1 employed at Roxane from that time to the 1 Roxane had some brand drugs but very few.
2 present? 2 Q. Okay. So when you were first
3 A. Yes. 3 employed, who was your -- who did you
4 Q. Could you just take me 4 consider to be your employer?
2 chronologically through your employment 5 A. Boehringer Ingelheim.
6 history with your job title and the 6 Q. And your employer was
7 responsibilities from then until now? 7 Boehringer Ingelheim or BI from the inception
8 A. Sure. J was -- I worked as a 8 of your employment until 1999?
9 Credit/Collections Specialist from 1987 to 9 A. 1999, yes.
10 1990. And in 1990, when the federal 10 Q. And in 1999, your employer
11 government passed the Medicaid rebate 11 became Roxane?
12 legislation, OBRA '90, is when I became a 12 A. Still Boehringer Ingelheim, but
13 Medicaid Specialist basically hired to 13 J acquired responsibility for Roxane
14 process the Medicaid rebate claims that were 14 contracting under the Medicaid Rebate
15 the result of this new legislation. So I was 15 Agreement.
16 a Medicaid analyst, specialist, whatever you 16 Q. BI is the parent of Roxane?
17 want to call it, until like the mid-'90s. 17 A. It's Boehringer Ingelheim
18 And I got -- had increasing degrees of 18 Corporation, correct.
19 responsibility with that job. 19 Q. BIC?
20 And then in like the late '90s, 20 A. BIC.
21 I was promoted to Medicaid Manager for just, 21 Q. B-I-C?
22 at that time, Boehringer Ingelheim. And then 22 A. Yes,
23 in the late '90s, '99 to 2000 area, we 23 Q. Where is BIC located?
24 acquired the contracting for Roxane. I was 24 A. Headquarters is in Germany.
25 responsible for their Medicaid Rebate 29 Q. Have you ever been to Germany? E
Page 15 Page 17 |:
1 Agreement, processing their rebates, 1 A. No.
2 reporting their pricing, et cetera. And soI 2 Q. Do you want to go?
3 held that position for -- held that position 3 A. Ihave no desire.
4 for three years. 4 Q. Roxane's headquarters are
5 And then I acquired federal 5 where?
6 responsibility for both companies, VA 6 A. Right now it's in Cleveland,
7 contracting, DOD contracting, et cetera. And 7 Ohio. But at one point, it was in Columbus,
8 so I was promoted at that time to Associate 8 Ohio.
9 Director. And I've been the Associate 9 Q. Where do you currently reside?
10 Director of Government Programs since 2003. 10 A. In Danbury, Connecticut -- or
11 Q. At the time you were hired, 11 Ridgefield, Connecticut.
12 what was the relationship between Boehringer 12 Q. All right. I want to mark --
13 Ingelheim, BI, and Roxane? 13 this has probably been previously marked.
14 A. Roxane was the sister company 14 Let's do this. I want to show you what's
15 under Boehringer Ingelheim Corporation. 15 previously been marked as Plaintiffs' Exhibit
16 Q. Is it fair to say that at the 16 No.1. Tell me, sir, if you recognize that.
17 time you hired -- you were hired, that BI 17 (Witness reviewed document.)
18 dealt with brand drugs and that Roxane dealt 18 A. Yes.
19 with generic drugs? 19 Q. Have you reviewed this document
20 A. Yes. 20 before?
21 Q. Has that generally been the 21 A. [reviewed it, yes.
22 relationship from 1985 until the present? 22 Q. Did you review it in
23 A. I can't say from 1985, but -- 23 preparation of your deposition today?
24 Q. From 1990? 24 A. Yes.
25 A. From 1990, yes. Yeah, I mean, 25 Q. What else did you review in

5 (Pages 14 to 17)

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25

__—A._ Could have been forty to fifty

drug? __

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1 the same for innovator products and 1 Q. NDCs?
2 noninnovator products? 2 A. NDCs.
3 A. No. They're different. 3 Q. Okay. Before Mr. Winget-
4 Q. What's the formula for a 4 Hernandez asked you questions earlier about
5 noninnovator product? 5 Oramorph. Do you recall that?
6 A. It is just your Average 6 A. Yes.
7 Manufacturer Price times 11 percent. 7 Q. Are you aware of whether or not
8 Q. And what was the formula you 8 Oramorph had multisource competition?
9 described earlier for Mr. Carter? 9 A. Iam aware of that.
10 A. That was the formula for a 10 Q. Are you aware of whether or not
11 non -- I just -- that was noninnovator that I 11 Oramorph competitors had an innovator or
12 just described earlier. It was for single 12 noninnovator designation?
13 source and innovator drugs. And it's -- 13 A. They had a noninnovator
14 there's a best -- a basic rebate component 14 designation for that drug.
15 and an inflation component. You want me to 15 Q. And was that one of the issues
16 repeat it? 16 that you were looking at in contention with
17 Q. You can repeat it, please. 17 the Medicaid recalculation presentation that
18 A. Okay. It's -- on the basic 18 you gave to CMS?
19 side, it's 15 -- the greater of 15.1 percent 19 A. Yes.
20 for AMP minus Best Price. And on the 20 Q. Are you aware of whether or
21 inflation side, we were penalized for price 21 not, at any time, Roxane had any nominal
22 increases over and above inflation. 22 price sales?
23 Q. Did Roxane ever calculate Best 23 A. I think there were a few
24 Price for its noninnovator products? 24 nominal price sales for the Oramorph product.
25 A. No. 25 Q. Other than for Oramorph? i
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1 Q. Is it required to report Best 1 A. No.
2 Price for those products to CMS or any other 2 MR. KAVANAUGH: Nothing
3 entity? 3 further.
4 A. No. 4 THE VIDEOGRAPHER: Anyone else?
5 Q. Do you have a rough ballpark 5 MR. CARTER: Yeah.
6 estimate of how many NDCs Roxane has today? 6 EXAMINATION
7 A. Today? It's less than ten -- I 7 BY MR. CARTER:
8 mean, five. I mean, it changes all the time. 8 Q. Tell the Jury what the
9 Q. Let me repeat my question. 9 difference is between an innovator drug and a
10 A. Okay. 10 noninnovator drug.
11 Q. How many NDCs Roxane has in its 11 A. An innovator drug, as
12 product portfolio today? 12 classified under the Medicaid rules, is any
13 A. Oh, four to five hundred -- I 13 drug that is marketed under an NDA or a New
14 mean... 14 Drug Application. And a noninnovator drug
15 Q. And how many of those are 15 would be a drug that is marketed under an
16 products for which you report a Best Price? 16 ANDA, which is an Abbreviated New Drug
17 A. Today, less than ten. 17 Application.
18 Q. And historically, about how 18 Q. And what does it matter to you
19 many products, say in the mid-'90s, did 19 when you're calculating AMPs whether a drug :
20 Roxane have in its portfolio, total NDCs? 20 is an innovator drug or a noninnovator drug? E
21 A. Same ballpark. 21 A. It does not. ;
22 Q. And how many innovator products 22 Q. What does it matter when you :
23 did Roxane report Best Price for during that 23 calculate Best Price as to whether or not a :
24 time period? 24 drug is an innovator drug or a noninnovator
25

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